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 7 Attorneys for Plaintiff,
     Timothy Chandler
 8
 9                        UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11 TIMOTHY CHANDLER, an individual,             Case No.: 3:22-cv-00636-W-DEB
12                            Plaintiff,
                                                DECLARATION OF GUSTAVO
13        vs.                                   PONCE REGARDING
                                                PLAINTIFF’S COUNSELS’ NOTICE
14 MIDLAND CREDIT MANAGEMENT,                   OF HEARING TO TIMOTHY
     INC., a Kansas corporation,                CHANDLER
15
                        Defendant.              HON. THOMAS J. WHELAN
16
17                                              DATE:  JANUARY 23, 2023
                                                COURTROOM: 3C
18
19                                              NO ORAL ARGUMENT PURSUANT
                                                TO LOCAL RULE
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                           DECLARATION OF GUSTAVO PONCE REGARDING
                 PLAINTIFF’S COUNSELS’ NOTICE OF HEARING TO TIMOTHY CHANDLER
Case 3:22-cv-00636-W-DEB Document 12-3 Filed 12/12/22 PageID.64 Page 2 of 3




 1 I, Gustavo Ponce, declare:
 2    1. I am one of the attorneys for the Plaintiff in this action.        I submit this
 3        declaration in support of Plaintiff’s Counsel’s Motion to Withdraw. I am
 4        licensed to practice law before this court and all California State courts. If
 5        called as a witness, I would competently testify to the matters herein from
 6        personal knowledge.
 7    2. I along with David McGlothlin, Mona Amini, and the firm of Kazerouni Law
 8        Group, APC, currently represent Plaintiff in this action.
 9    3. On December 12, 2022, I provided Plaintiff with written notice of the date,
10        time, and location of the Motion to Withdraw via U.S. Mail.
11    4. Furthermore, on December 12, 2022, I sent an electronic message via email to
12        Plaintiff providing Plaintiff with written notice of the date, time, and location
13        of the Motion to Withdraw.
14
15        I declare under penalty of perjury that the foregoing is true and correct.
16 Executed on December 12, 2022, pursuant to the laws of the State of Nevada at Las
17 Vegas.
18
19
20 Dated: December 12, 2022
21                                            KAZEROUNI LAW GROUP, APC
22
23                                               By: /s/ Gustavo Ponce
                                                 Gustavo Ponce, Esq.
24                                               Attorneys for Plaintiff
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                          DECLARATION OF GUSTAVO PONCE REGARDING
                PLAINTIFF’S COUNSELS’ NOTICE OF HEARING TO TIMOTHY CHANDLER
Case 3:22-cv-00636-W-DEB Document 12-3 Filed 12/12/22 PageID.65 Page 3 of 3




 1
                                   PROOF OF SERVICE
 2
           I hereby certify that on December 12, 2022, I electronically transmitted the
 3
     document(s) listed below to CM/ECF system on this date.
 4
 5
                 DECLARATION OF GUSTAVO PONCE REGARDING
 6               PLAINTIFF’S COUNSELS’ NOTICE OF HEARING TO
 7               TIMOTHY CHANDLER
 8
 9
10
                                              KAZEROUNI LAW GROUP, APC

11
                                                  By: /s/ Gustavo Ponce
12                                                David J. McGlothlin, Esq.
                                                  Mona Amini, Esq.
13                                                Gustavo Ponce, Esq.
14                                                Attorneys for Plaintiff

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                           DECLARATION OF GUSTAVO PONCE REGARDING
                 PLAINTIFF’S COUNSELS’ NOTICE OF HEARING TO TIMOTHY CHANDLER
